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           EXHIBIT 13
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                                                                                        FILED


                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

ETHICON, INC., and
DEPUY ORTHOPAEDICS, INC.,

                  Plaintiffs,                             CaseNo.o··\VCV'      \\.04.. J-Y\ ~
         v.

LAURA ANGELINI,

                  Defendant.
----------------------~/
                                       VERIFIED COMPLAINT

         Plaintiffs Ethicon, Inc. ("Ethicon") and DePuy Orthopaedics, Inc. ("DePuy Synthes")

(together, "J&J Companies") hereby file this Verified Complaint against Defendant Laura

Angelini ("Angelini") and allege as follows:

                                      NATURE OF THE ACTION

         I.       In this action, the J&J Companies seek injunctive relief and damages against

Angelini, a long-time high-level executive within the Johnson & Johnson Family of

Companies and specifically within its Medical Devices segment, for violation of Angelini's

post-employment non-competition and confidentiality obligations contained in her Employee

Secrecy,      Intellectual      Property,   Non-Competition   and   Non-Solicitation   Agreement

("Agreement," attached as Exhibit A).

        2.       The J&J Companies are global leaders in the highly competitive medical

device industry and the disclosure or use of their highly confidential business information

would harm these businesses.                Angelini has been exposed to and possesses highly




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confidential and sensitive business information regarding, among others, the J&J Companies'

biosurgery business.

         3.       Angelini has accepted employment as Worldwide President of Biosurgery at

Baxter Healthcare Corporation ("Baxter"), a direct competitor, which competes head-to-head

with the J&J Companies in many product areas, including biosurgery.

         4.       As a condition of her employment as a Global Platform Leader, Angelini

expressly acknowledged in the Agreement that she would be privy to confidential and

proprietary information in connection with her job responsibilities.           In exchange for

providing her access to the highest levels of internal non-public information, she agreed not

to work for any competitor in any position and in any location in which there was a risk that

she would disclose or use that information to the J&J Companies' detriment and to the

competitor's advantage for eighteen months after her employment with the J&J Companies

terminated.

         5.      Instead of complying with these obligations, Angelini has accepted a top

executive position at Baxter where the position she is taking creates a substantial risk that she

will use or disclose proprietary and highly confidential information belonging to the J&J

Companies in violation of her Agreement.

        6.       Due to the nature of the risk- specifically, the fact that the J&J Companies

cannot monitor Angelini's compliance and the fact that it will be difficult to measure the

damages caused by the disclosure of its confidential and proprietary information - the J&J

Companies are requesting immediate injunctive relief to prevent such irreparable harm from

occurring.


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                                         THE PARTIES

         7.      Plaintiff Ethicon, Inc. is a New Jersey corporation with its principal place of

business in West Somerville, New Jersey. It is a wholly-owned subsidiary of Johnson &

Johnson ("J&J") and is therefore an entity within the Johnson & Johnson Family of

Companies and a "Company" as that term is defined in Angelini's Agreement.

         8.      Plaintiff DePuy Orthopaedics, Inc. is an Indiana corporation with its principal

place of business in Warsaw, Indiana. It is a wholly-owned subsidiary of Synthes, Inc.,

which is a wholly-owned subsidiary of DePuy Synthes, Inc, which, in turn, is a wholly-

owned subsidiary of Johnson & Johnson International, a subsidiary of J&J.

        9.       Angelini is a citizen of the State of Florida, residing at 313 Plantation Circle,

Ponte Vedra Beach, FL 32082.

                                JURISDICTION AND VENUE

         I 0.    This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332. This is an action between parties of diverse citizenship with an amount in

controversy that exceeds $75,000.

        11.      Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b) because

Angelini is a resident of the State of Florida and of this judicial district.

                                 FACTUAL BACKGROUND

I.      THE J&J COMPANIES' BUSINESS IS BUILT ON CONFIDENTIAL AND
        PROPRIETARY INFORMATION

        12.     The J&J Family of Companies is comprised of over 260 companies, which

together operate the world's largest and most diverse medical device, pharmaceutical and

consumer products company. The J&J Family of Companies operates generally in three

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broad divisions:       Consumer Healthcare; Medical Devices; and Pharmaceuticals.        The

businesses in which these entities are engaged are extremely competitive.

         13.     Ethicon and DePuy Synthes are two key businesses within J&J's Medical

Devices segment and, as wholly-owned subsidiaries of J&J, are part of the J&J Family of

Companies.

         14.     Fanned in 1887 as the first company to mass produce sterile sutures, Ethicon

develops, manufactures, and markets sutures, ligatures, staplers, and other wound-closing

products. Today, Ethicon is a global market leader in this business, and its primary focus is

to develop and create innovative products and medical devices for use in surgery.

         15.     Among one of Ethicon's key areas of focus and innovation is biosurgery,

which is an area dedicated to developing an array of technologies to minimize intra- and

post-operative complications using biologically-based products for surgical conditions that

are difficult or expensive to manage or may not be addressed by standard surgical techniques

like sutures or cauterization.

        16.      Ethicon's products in this area consist of hemostats, which stop the flow of

blood, as well as sealants, to ensure wounds clot and close properly.         Because of its

innovative use of biomaterials for these purposes, protection of Ethicon's confidential and

propriety information is ofutmost importance.

        17.      Like Ethicon, DePuy Synthes is a worldwide leader in the medical device

industry with a focus on implants and instrumentation for use in orthopedic surgery for the

repair and healing of the musculoskeletal system. DePuy Synthes' products include, among




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          other things, plates and screws for the healing of traumatic injuries, products used in spine

          surgery, and joint replacement products like knees, hips, and shoulders.

                   18.      The medical device industry in which the J&J Companies are engaged is

          highly competitive and the protection of confidential, proprietary, and trade secret

          information is vital to prevent competitors or would-be competitors from obtaining an unfair

          competitive advantage. To compete and to serve its customers and the patient community,

          the J&J Companies invest millions of dollars annually in resources to develop its technology,

          systems, and products.

                   19.      Their business relationships and confidential information are protected by

          requiring critical employees, as a condition of employment, to agree not to disclose

          confidential and/or proprietary information, not to solicit customers, and not to compete in a

          position that would compromise the confidential information for a reasonable period of time

          following employment.

          II.      ANGELINI JOINS J&J AND GAINS EXTENSIVE ACCESS TO THE J&J
                   COMPANIES' HIGHLY CONFIDENTIAL AND SENSITIVE BUSINESS
                   INFORMATION

                   20.      Angelini began her career with J&J on or around July I, 1991 as a Product

          Manager for Ethicon Italy.

                   21.      Since that time, she has worked for several companies within the Johnson &

          Johnson Family of Companies, and has been privy to their highly-confidential information.

                   22.      From 2010 through 2012, Angelini was a Regional Vice President for Eastern

          Eurpoe charged with responsibility for Ethicon's business, including Biosurgery, for Europe,

          the Middle East and Africa.


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             23.      On or around February 6, 2012, Angelini was promoted to the position of

     Vice President for Global Strategic Marketing for Ethicon's Surgical Care business.

             24.      In this role, Angelini used her twenty-one years of experience to oversee the

     strategic direction of Ethicon's suture and endo-mechanical businesses and was privy to

     Ethicon's confidential, proprietary, and trade secret information across Ethicon's businesses.

             25.      Indeed, because of the high level of this position, Angelini would have had

     access to information regarding Ethicon's Biosurgery business at the strategic level,

     including the pipeline and various key issues for the development of that pipeline.

             26.      In and around October 2013, Angelini became the President of North America

     and Global Strategic Marketing at Johnson & Johnson Vision Care, Inc. ("Vision Care").

             27.      Most recently, in March 2016, Angelini became the Global Platform Leader-

     Joints for DePuy Synthes ("Platform Leader").        Angelini's assumption of this position

     coincided with J&J's Medical Device business restructuring.

             28.      Starting in late 2015, J&J's Medical Device businesses, which include, among

     others, Ethicon and DePuy Synthes, began to integrate and streamline their operations and

     research and development functions to create one Medical Device organization. As part of

     this restructuring, the Medical Device businesses sought to accelerate the pace of innovation

     and to prioritize and reallocate research and development resources to key platforms and

     geographies. To do so, it was critical that the top level leadership within these platforms

     share information and align on the priorities across J&J Medical Device.

             29.      Therefore, in connection with her assigned responsibilities as Platform

     Leader, a top executive position, Angelini had access to highly confidential and proprietary


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     information relating to all of the J&J Family of Companies Medical Device businesses,

     including Ethicon and its Biosurgery unit. The biosurgery business is unique from a strategic

     planning perspective because it cuts across many of the J&J Companies' surgical platforms.

     The confidential and proprietary information to which she had access included, without

     limitation, market data, share position, pricing and pricing strategies, project share gains and

     losses, product portfolio gaps, research and development pipeline, growth plans,

     compensation plans, and advantages and key innovations across J&J product lines.

             30.      In this role, Angelini also received regularly-prepared reports regarding the

     Medical Device segment businesses, including updates on the portfolio strategy, progress on

     the execution of such strategy, project updates, project launch dates and reports for the

     Medical Device segments overall, including Ethicon and its Biosurgery business, and DePuy

     Synthes. Angelini received these reports as recently as August 9, 2016.

             31.      In addition, from April 25 through 27, 2016, J&J held a Strategic Planning &

     Innovation Workshop for its Medical Device segment to further its goal of integrating its

     subsidiaries to cross-develop products. J&J brought all platform leaders together to discuss

     innovation priorities, product lines, product and marketing development, technologies, and

     product and business priorities.

             32.      The purpose of the meeting was for each business leader to present the key

     issues, strategies and products for their business, to have their peers from other businesses

     review and comment on the plans and pipelines, and to make decisions together about how to

     invest in each of these businesses and test the various strategies that were proposed to

     determine the path forward.


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         33.      Invitees to the Strategic Planning & Innovation Workshop included Angelini,

and other top executives from across the Medical Device segment including DePuy Synthes

and Ethicon.

         34.      Infonnation regarding the strategic direction of Ethicon and its Biosurgery

unit were disclosed and discussed, including strengths, weaknesses, and priorities.

Significant detail was provided and discussed for the Biosurgery business and where it ranks

as a priority for the entire Medical Device portfolio.

         35.      Angelini had access to this information prior to the meeting and was involved

in the discussion of the direction of this business, which she knew and understood and to

which she could contribute based on her many years of experience with Ethicon.

         36.      Indeed, though she had been responsible for another business within J&J prior

to March 2016, the Medical Device Strategic Planning & Innovation Workshop provided

Angelini with a "re-fresh" on all current plans, pipelines, and strategies for Ethicon,

including its Biosurgery business.

         37.     Angelini would have been in the unique position to have detailed knowledge

of this business due to her tenure with Ethicon, to see how the strategies and pipeline had

developed over time, and to provide comments and feedback on the direction and strategy for

this business going forward.

        38.      Unbeknownst to the J&J Companies, at the time that Angelini was receiving

these highly confidential business planning and strategy documents and attending this

intensive innovation workshop, she was coordinating a second round of interviews with

executives at a direct competitor, Baxter, for, upon information and belief, the position that


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she has ultimately accepted and intends to take: Worldwide President of Baxter's Biosurgery

business. See emails between executive recruiting firm Spencer Stuart and Angelini from

April and May 2016, attached hereto as Exhibit B.

         39.      Therefore, Angelini knew that she was engaged in discussions with a direct

competitor, yet chose to attend and be engaged at the Medical Device Strategic Planning &

Innovation Workshop where all of the Medical Device segment's plans and strategies were

discussed and vetted across the Medical Device leadership team.

         40.     The information disclosed in advance and during this and similar meetings

between top executives at J&J, in addition to the Medical Device segment reports, was

strictly regulated, as it concerned each business operation within the Medical Device

business and involved discussion amongst all top executives, including Angelini, about

strictly confidential future developments and business innovation.

        41.      These types of documents were circulated only to a select number of leaders

within J&J, who were strictly instructed not to forward the documents by email.            The

documents were marked as "Confidential. For J&J internal use only." with the instruction

"Do Not Distribute or Print'' directly emblazoned on the documents. In addition, the printing

function for these documents was disabled so that recipients could not make hard copies.

        42.      All of these measures demonstrate that the information Angelini had access to

was of a highly-confidential and sensitive nature.




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III.    ANGELINI'S OBLIGATIONS UNDER THE EMPLOYEE SECRECY,
        INTELLECTUAL PROPERTY, NON-COMPETITION AND
        NON-SOLICITATION AGREEMENT

        43.      As a condition of her employment, Angelini signed an Employee Secrecy,

Intellectual Property, Non-Competition and Non-Solicitation Agreement ("Agreement").

        44.      Pursuant to the Agreement, Angelini was made aware that she would be given

access to confidential information, would develop, maintain or enhance business and/or

customer relationships and receive training.

        45.      Additionally, Angelini was made aware that she would have access to

confidential information "relating to the business of other entities wid1in the Johnson &

Johnson Family of Companies." Ex.      A~   A.

        46.      CONFIDENTIAL INFORMATION under the Agreement is defined as:

                "information or a compilation of information, in any form
                (tangible or intangible) about the business of the COMPANY,
                not generally known to the trade or industry in which the
                COMPANY is engaged, which is disclosed to you or known by
                you as a result of your employment by the COMPANY.
                CONFIDENTIAL INFORMATION includes, but is not limited
                to, (a) such things as trade secrets, inventions, research,
                development, strategies, operations, logistics, manufacturing,
                distribution, purchasing, licensing, business planning and
                development, products in existence or under development,
                product performance          information,    product technical
                information, product know-how, discoveries, methodologies,
                algorithms, formulas, protocols, reports, data, results,
                observations, computer programs, patent applications, strategic
                plans, hypotheses, research direct ions, developments,
                improvements, drawings, designs, specifications, opinions of
                legal counsel, clinical trials, draft or final regulatory filings,
                finance, computer software or hardware, automated systems,
                engineering, marketing, merchandising, pricing, training,
                training methods or procedures, selling, sales, personnel,
                customers or clients, including, but not limited to, customer
                lists, sales volumes or strategies, number or location of sales

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                 representatives, names or significance of the COMPANY's
                 customers or clients or their employees or representatives,
                 preferences, needs or requirements, purchasing histories, likes,
                 dislikes, habits or other customer or client-specific information;
                 and (b) personal or business information about the
                 COMPANY's employees, customers, vendors, consultants and
                 agents which is not publicly known and which is disclosed to
                 you or known by you in connection with your employment by
                 the COMPANY including, but not limited to, performance
                 reviews and other performance related information,
                 organizational charts, compensation, benefits, and rankings."

Ex. A at~ B.

        47.      Importantly, the term "COMPANY" in tum, is defined as "individually and/or

collectively DePuy Orthopaedics, Inc., Johnson & Johnson, and all other entities within the

Johnson & Johnson Family of Companies, and their respective successors and assigns. An

entity is within the Johnson & Johnson Family of Companies if it is at least 50 percent owned

by Johnson & Johnson, either directly or indirectly." /d. Ethicon falls under the definition of

COMPANY, because it is a wholly-owned subsidiary of J&J.

        48.      In addition, paragraph 16 provides that "Each COMPANY is an express third-

party beneficiary of this Agreement."

        49.      Angelini further agreed that, for a period of 18 months after her last date of

employment with DePuy Synthes, she would not: "directly or indirectly, perform work for

any COMPETITOR in any position and in any location in which [she] could disadvantage

any COMPANY or advantage the COMPETITOR by: (a) [her] disclosure or usc of

CONFIDENTIAL INFORMATION to which [she] had access; (b) [her] use of the

specialized training provided to [her] by [DePuy] or any COMPANY for which [she has]




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worked; and/or (c) [her] use of CUSTOMER relationships and goodwill. " Id. at             ~   C(6)

(emphasis added).

            50.    "COMPETITOR" is further defined as any person or entity

                  "(a) that is engaged in or preparing to become engaged in
                  research, development, production, marketing selling of, or
                  consulting on a product, process, technology, machine,
                  invention or service in existence or under development that
                  resembles or competes with an existing or potential product,
                  process, technology, machine, invention or service of any
                  COMPANY that is in existence or under development or (b)
                  that    could      benefit    from:     (i) CONFIDENTIAL
                  INFORMATION; (ii) [her] use of the specialized training
                  provided to [her] by [DePuy] or any COMPANY; and/or (c)
                  that could benefit from [her] use of the COMPANY's customer
                  relationships and/or goodwill."

/d.   at~   B (emphasis added).

            51.   The Agreement contains a limitation on the non-compete provision in section

C paragraph 6 which provides that Angelini could work for a competitor if it is determined

that the competitor has a diversified business and ..no portion of the business for which [she]

would render services is a COMPETITOR" and Angelini provides written assurances

satisfactory to "the COMPANY with a competitive interest" that she "will not render any

services to the portion of the business that is a COMPETITOR." /d.     at~   C(6).

            52.   The Agreement also contains an Addendum A that provides for payments to

Angelini in the event that she is "unable to obtain employment in a position in which [her]

annual base salary is at least equal to [her] annual base salary at the time of [her] termination

solely because or• the non-compete and non-solicitation restrictions in the Agreement, and

subject to her satisfaction of other conditions contained in the Addendum including notice to



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the appropriate person in writing of her efforts to find employment that complies with her

obligations under the Agreement.

            53.      Angelini acknowledged, by executing the Agreement, that if she violates or is

"about to violate" the provisions of the Agreement addressing the use or disclosure of

confidential information, "immediate irreparable injury to any COMPANY will result,

warranting (in addition to any other relief) the imposition of injunctive relief against (her)."

/d.   at~   C(l2).

IV.         ANGELINI LEAYES DEPUY SYNTHES FOR A DIRECT COMPETITOR
            WHERE HER KNOWLEDGE OF CONFIDENTIAL INFORMATION WILL
            BENEFIT THE COMPETITOR AND PUT THE J&J COMPANIES AT A
            COMPETITIVE DISADVANTAGE

            54.      On August 11, 2016, Angelini resigned from her position as Global Platform

Leader- Joints, stating in an email that she wished to express her "intention to leave JnJ and

present [her] formal resignation" as well as her "gratitude to JnJ ... for 25 wonderful years

with the company."

            55.      Angelini's last day at DePuy Synthes will be September 9, 2016. Thereafter,

she intends to commence employment at Baxter as Worldwide President of Biosurgery.

            56.      There is no question that Baxter competes directly and head-to-head with

Ethicon in the medical device industry, particularly when it comes to Biosurgery products.

            57.      The confidential, proprietary, and trade secret information that Angelini knew

about and had access to as a leader of Ethicon, coupled together with the regular reports she

received in her newer role at DePuy Synthes, as well as that disclosed during the recent

Strategic Planning & Innovation Workshop, as well as other top executive meetings that she



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attended and reports she received, would undoubtedly cause great and irreparable harm if

disclosed to Baxter.

        58.      Angelini's new position at Baxter will require her to encounter many of the

same questions and tasks that she has during her 25 years within J&J, and will inevitably

require her to use and disclose the confidential, proprietary, and trade secret information that

she has acquired in her various high-level roles at the J&J Companies.

        59.      Accordingly, the very fact of Angelini's employment at Baxter, particularly in

a top executive position, compromises confidential information relating to the whole of J&J's

Medical Device operations, including Ethicon and its Biosurgery business that Angelini had

access to.

V.      IRREPARABLE HARM TO THE J&J COMPANIES

        60.      By working for a direct competitor of the J&J Companies in a top executive

role and having had such broad and extensive access to highly sensitive information across

the Medical Device segment, Angelini will disclose proprietary and confidential information

and is in direct violation of her obligations under the Agreement.

        61.      The J&J Companies will suffer immediate and irreparable harm unless

Angelini is enjoined from breaching her Agreement.            Among other things, the J&J

Companies will suffer the loss of valuable confidential and proprietary information, as well

as the concomitant loss of competitive advantage, including loss of market share and

potentially the loss of market-leading positions that are entitled to protection under the law.

It will be very difficult, if not impossible, to calculate the loss and damage resulting from

Angelini's breach of her Agreement.


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        62.      There is no adequate remedy at law for the irreparable harm that the J&J

Companies will suffer unless Angelini is enjoined from breaching her Agreement.

        63.      Injunctive relief is necessary to preserve the status quo and restore the parties

to the situation that existed immediately before Angelini began engaging in wrongful

conduct.

        64.      Additionally, injunctive relief is appropriate in these circumstances because

the J&J Companies will most likely prevail on the merits and the balancing of equities favors

the J&J Companies.

                            COUNT ONE- BREACH OF CONTRACT

        65.      The J&J Companies hereby incorporate the allegations contained in the

preceding paragraphs as if set forth fully herein.

        66.      As a condition of her employment, Angelini agreed, for a period of eighteen

months following her employment, not to perform work for any competitor in any position or

location in which she could disadvantage the J&J Companies or advantage the competitor by

her disclosure or use of confidential information to which she had access.

        67.      During her employment, Angelini had significant and extensive access to a

broad array of confidential and proprietary information related to the finances and global

business strategies of the J&J Companies and other entities within the J&J Family of

Companies, including Ethicon's Biosurgery business, and including pricing calculations, cost

data, market analyses, launch dates, strategic plans, and product portfolios.




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        68.      Angelini held a high level executive position in which she had access to

confidential and trade secret information which would unquestionably disadvantage the J&J

Companies and advantage Baxter.

        69.      For example, Angelini participated in a Strategic and Innovation Planning

Meeting on April 25-27, 2016 in which the J&J Companies' strategic and innovation

playbook was reviewed and discussed in detail. This included its strategy and pipeline for

the Biosurgery business.

        70.      Before the meeting, a significant, detailed pre-read presentation was provided

to the participants, including Angelini.

        71.      Angelini also received regularly-prepared reports regarding the entire Medical

Device portfolio, including strategies for the entire business as well as launch dates and other

non-public and highly valuable information.

        72.      The J&J Companies have taken adequate measures to protect the

confidentiality of this information, including requiring Angelini to sign the Agreement,

which expressly prohibits her from working for a competitor in any capacity in which she

could harm the J&J Companies or benefit a competitor by her use or disclosure of such

information. And, the information shared in the Medical Devices segment reports and in the

recent Strategic and Innovation Planning meeting was highly confidential and for internal use

only, and was distributed only to a specified target audience. Information relating to the

meetings was shared via a secured .PDF document with the print feature disabled so as to

further limit distribution. The documents were also embossed with the legend "Confidential.

For J&J internal use only." and "Do Not Distribute or Print."


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         73.      With this information, coupled with her previous experience leading Ethicon

and other strategic information she has received including as recently as August 9, 2016

about pipeline, projects and milestones, there is no conceivable way she can do her job as

Worldwide President for Baxter without the risk of disclosure, use, or reliance, whether

purposeful or not.

         74.      Baxter is a direct competitor of Ethicon and if Baxter gains access to the

confidential information to which Angelini had access while at the J&J Companies, the J&J

Companies will suffer immediate and irreparable harm to its business.

         75.      Angelini plans to begin her employment with Baxter on September 12, 2016,

and, thus, is or will be in a position in which her use or disclosure of the J&J Companies'

confidential information could damage the J&J Companies and advantage Baxter.

         76.      Angelini acknowledged, by executing the Agreement, that if she violates or is

"'about to violate" the provisions of the Agreement addressing the use or disclosure of

confidential information, "immediate irreparable injury to [the J&J Companies] will result,

warranting (in addition to any other relief) the imposition of injunctive relief against [her]."

(Ex. A (Agreement) at~ 12.)

         77.      Unless Baxter is enjoined from breaching her restrictive covenant, the J&J

Companies will suffer irreparable injury to their business.

         WHEREFORE, Plaintiffs Ethicon, Inc. and DePuy Synthcs Orthopaedics, Inc. seek

the following relief:

         A.       An order enjoining Angelini, for a period of eighteen (18) months beginning
                  August II, 2016, from directly or indirectly performing work for Baxter or
                  any other competitor of the J&J Companies, and all other entities that are at
                  least 50 percent owned by Johnson & Johnson, either directly or indirectly,
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                 and their respective successors and assigns ("the companies"), in any position
                 and in any location in which she could disadvantage the companies or
                 advantage Baxter or any other competitor of the companies by the disclosure
                 or use of confidential infonnation to which she had access while employed
                 with the J&J Companies;

        B.       Compensatory damages in an amount to be determined at trial;

        C.       Attorney's fees and costs of suit; and

        D.       Such other and further relief as the Court deems just and reasonable.



Dated: September 6, 20 16

                                                          MURPHY & ANDERSON, P.A.

                                                          Is/ Niels P. Murphy
                                                          NIELS P. MURPHY
                                                          Florida Bar No.: 0065552
                                                          nmumhy@murohyandersonlaw.com
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                                                          1501 San Marco Boulevard
                                                          Jacksonville, Florida 32207
                                                          904-598-9282 (phone)
                                                          904-598-9283 (fax)
                                                          Trial Counsel for Plaintiffs Ethicon, Inc.
                                                          and DePuy Orthopaedics, Inc.

                                                          BLANK ROME LLP

                                                          Is/ Leigh Ann Buziak
                                                          Anthony B. Haller
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                                                          Leigh Ann Buziak
                                                          buziak@blankrome.com
                                                          Daniel S. Morris
                                                          morris-d@blankrome.com
                                                          (motions for admission pro hac vice will
                                                          be forthcoming)
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     Case 1:17-cv-11008-MLW Document 15-12 Filed 07/11/17 Page 20 of 42
..



                                           One Logan Square
                                           Philadelphia, PA 19103
                                           215-569-5500 (phone)
                                           Attorneys for Plaintiffs Ethicon, Inc. and
                                           DePuy Orthopaedics, Inc.




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                                        VERIFICATION

         I, Dan Wildman, verify that I am a Global Platform Leader for DePuy Synthes, a family

of wholly-owned subsidiaries of Johnson & Johnson and I have previously held leadership

positions within Ethicon. Accordingly. I am authorized to make this Verification on behalf of

DePuy Orthopaedics, Inc. and Ethicon, Inc., and that the facts in the foregoing Complaint are

true and correct to the best of my knowledge or information and belief: and are made subject to

the provisions of28 U.S.C. § 1746, relating to unsworn falsification to authorities.




Dated: September 2, 2016




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                                                                                                  JANREM0112413
                          Case 1:17-cv-11008-MLW Document 15-12 Filed 07/11/17 Page 22 of 42

 JS 44 (Rev. 07116)                                                           CIVIL COVER SHEET                                          3 ·. l v            CJv' \l ~ . . j - &'\ ~
 The JS 44 civil cover sheet and lhe infonnalion conlllined herein neilher replace nor supplement !he filing and service ofpleadin115 or olher papers as required by law. except as
 provided by local rules of coun. This form, approved by lhe Judicial Conference of the United Slales in September 1974, is requtred for the use of lhe Clerk of Coun for lhC
 pwpose ofinitiating the civil docket sheet. (Siil:' IN~TRUCTIONS ON NEXT PAGE 01-' TillS PORM.)
 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
 Ethlcon, Inc., and Depuy Orthopaedics, Inc.                                                                  Laura Angelini

     (b) County of Residence of First Listed Plaintiff              West Somerville, NJ                        County of Residence of First Listed Defendant                      St. Johns, FL
                                   (EXCEPT IN U.S. PI.AINTIFPCASES)                                                                   (IN U.S. I'I.AIN11r'F CASES ONLY)
                                                                                                                NOlE:     IN LAND CONDEMNATION CASES, USE TilE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

   {C) Attorneys (f'trm Name. AJdreu. and Ttlephone Num~r)                                                      Attorneys (If Knmm)
 Murphy & Ariderson, P A
 1501 San Marco Boulevard, Jacksonville, FL 32207
 904-598-9282
 II. BASIS OF JURISDICTION (Piacean "X"inOneBoxOnlyJ                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box/or Plaintiff
                                                                                                           (!'or Diversity Cases Only)                                              and One Box for Defendant)
 01     U.S. Government                     03   Federal Quesrion                                                                               PTF    DEF                                          PTF        DF.F
           Plaintiff                               (U.S. (im·emmenl Not a Party)                      Citizen ofThb State                   CJ. I      rtf. I lncotpomtcd or Principal Place         0         0 4
                                                                                                                                                                 of Business In This State

02      U.S. Govenunent                     ~4   Diversily                                            Citizen of Another State              CJ2        0       lncOIJKir.ltcd and Principal Place    ~         0   s
           Defendant                              (Indicate Cittz<nshtp ofParties in Item Ill)                                                                    of Business In AnC>ther State

                                                                                                      Citizen or Subje<:t ofa               a3         CJ      Foreisn Nation                        o    6    a   6
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 IV. NATURE OF SUIT (Place an "X" inOneBoxOn/yJ
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 0   130 Miller Act                      CJ 315 Aitplanc Product                Product liabitil)'    a690 Other                                28 USC IS7                                  3729(a))
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CJ 220 Foreclosure                       0 441 Voting                   0 463 Alien Detainee                                                   or Defendant)            a               899 Administrntivc Procedure
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CJ 240 Tons to land                      0 443 Housing/                        Sontc:nc:e                                                      26 USC 7609                                  Agency Decision
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V. ORIGIN (Piacean             "X"inOneBo.tOnly)
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       Proceeding              Slate Court                       Appellate Court                      Reopened                Another District                      Litigation -                   Litigation -
                                                                                                                        (specify)                                   Transfer                       Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do notcil~<)urlsJU:twnalstatuta unlaullw:rsily):
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VI. CAUSE OF ACTION BriefdescriQtionofcause:
                                             Breach of Contract
VII. REQUESTED IN     1J CHECK IF THIS IS A CLASS ACTION                                                  DEMANDS                                            CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                            JURY DEMAND:         0 Yes     Cl No
VIII. RELATED CASE(S)
                        ~e iii!II~tluns):
      IF ANY                              JUDGE                                                                                                       DOCKET NUMBER
DAlE                                                                        SIGNATURE OF ATIORNEY OF RECORD
09/0612016                                                               Is/ Niels P. Murphy
FOR OFFICE USE ONLY

     RECEIPT#                      AMOUNT        $D.o0                         APPLYING IFP
                                                                                                 -----                          JUDGE__._d.LP"l__.__ _                 MAG. JUDGE _        _,~~""'I.-L----

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         EMPLOYEE SECRECY. INTELLECTUAL PROPERTY. NON-COMPETITION
                     AND NON-SOLICITATION AGREEMENT


Name of Employee: Laura Angelini


TO BE PROVIDED BY H.R.
Employee WWID: 41000006
A. Introduction
         DePuy Orthopaedics. Inc. is one of numerous entities within the Johnson & Johnson Family of
Companies. The businesses in which these entities are engaged are extremely competitive. During your
employment, you will be given access to CONFIDENTlAL INFORMATION (as defined below), will
develop, maintain or enhance business and/or customer relationships and receive training relating to the
business of DePuy Orthopaedics, Inc. and may have access to CONFIDENTIAL INFORMATION
relating to the business of other entities within the Johnson & Johnson Family of Companies. This
Employee Secrecy, Intellectual Property, Non-Competition and Non-Solicitation Agreement (this
"Agreement") also applies to any employment you may subsequently have with any other entity within
the Johnson & Johnson Family of Companies.
        This Agreement sets forth your obligations during and after your employment with the
COMPANY including, but not limited to, defining certain rights and obligations concerning intellectual
property, non-solicitation-of-business, non-competition, non-solicitation of employees and publicity.

B. Definitions
        As used in this Agreement:
        COMPANY means individually and/or collectively DePuy Orthopaedics, Inc., Johnson &
Johnson, and all other entities within the Johnson & Johnson Family of Companies, and their respective
successors and assigns. An entity is within the Johnson & Johnson Family of Companies if it is at least
50 percent owned by Johnson & Johnson, either directly or indirectly.
       EMPLOYER means DePuy Orthopaedics, Inc. or, if applicable, any other COMPANY by
which you are (or were) employed at any time. For purposes of this Agreement, after you are no longer
employed by any COMPANY, EMPLOYER means any COMPANY by which you were last employed.
        INVENTIONS means (a) discoveries, improvements, ideas, concepts, research, data, reports,
plans, systems, technology, products, methods, and processes, whether or not patentable, and (b)
trademarks, service marks, trade dress, design marks, design rights, logos, domain names, handles, user
names, and trade names, whether or not registered, that relate to any work assigned to or performed by
you for or on behalf of your EMPLOYER or any COMPANY or to the actual or anticipated research or
development or other business activities of your EMPLOYER or any COMPANY.
        CONFIDENTIAL INFORMATION means information or a compilation of information,
in any form (tangible or intangible) about the business ofthe COMPANY, not generally known
to the trade or industry in which the COMPANY is engaged, which is disclosed to you or
known by you as a result of your employment by the COMPANY. CONFIDENTIAL
INFORMATION includes, but is not limited to, (a) such things as trade secrets, inventions, research,
development, strategies, operations, logistics, manufacturing, distribution, purchasing, licensing. business
planning and development, products in existence or under development, product performance


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information, product technical information, product know-how, discoveries, methodologies,
algorithms, formulas, protocols, reports, data, results, observations, computer programs, patent
applications, strategic plans, hypotheses, research directions, developments, improvements,
drawings, designs, specifications, opinions of legal counsel, clinical trials, draft or final
regulatory filings, finance, computer software or hardware, automated systems, engineering, marketing,
merchandising, pricing, training, training methods or procedures, selling, sales, personnel, customers or
clients, including, but not limited to, customer lists, sales volumes or strategies, number or location of
sales representatives, names or significance of the COMPANY's customers or clients or their employees
or representatives, preferences, needs or requirements, purchasing histories, likes, dislikes, habits or
other customer or client-specific information; and (b) personal or business information about the
COMPANY's employees, customers, vendors, consultants and agents which is not publicly known and
which is disclosed to you or known by you in connection with your employment by the COMPANY
including, but not limited to, performance reviews and other performance related information,
organizational charts, compensation, benefits, and rankings.
        COMPETITOR means any person or entity including, but not limited to, you or
anyone acting on your behalf, (a) that is engaged or preparing to be engaged in research.
development, production, marketing, selling of, or consulting on a product, process,
technology, machine, invention or service in existence or under development that resembles or
competes with, or can be substituted for, a product, process, technology, machine, invention,
or service of any COMPANY that is in existence or under development; (b) that could benefit
from: (i) CONFIDENTIAL INFORMATION; (ii) your use of the specialized training provided
to you by your EMPLOYER or any COMPANY; and/or (c) that could benefit from your use of
the COMPANY's customer relationships and/or goodwill.
        CUSTOMER means any entity, client, account or person including the employees,
agents, or representatives of the foregoing, or any entity or person who participates, influences
or has any responsibility in making purchasing decisions on behalf of such entities, clients,
accounts or persons, to whom or to which you contacted, solicited any business from, sold to,
rendered any service to, were assigned to, had management responsibilities for, received
commissions or any compensation on, or promoted or marketed any products or services to,
during the last eighteen months of your employment with any COMPANY.

C. Rights and Obligations
        In consideration of your receipt of CONFIDENTIAL INFORMATION, training, your
employment or the continuation of your employment with your EMPLOYER, your access to
customer relationships and good will, and/or for other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, you agree, and intend to be legally
bound, as follows:

  I.   You will disclose promptly in writing to your EMPLOYER or its designee all INVENTIONS
       conceived, created and/or reduced to practice by you during your employment whether or not
       during your hours of employment and/or whether or not with the use of your EMPLOYER's or any
       COMPANY's facilities, materials or personnel, either solely or jointly with another or with others,
       and related to the actual or anticipated business or activities of your EMPLOYER or any
       COMPANY, or related to their actual or anticipated research and development or suggested by or
       resulting from any task assigned by you or work performed by you for, or on behalf of, your
       EMPLOYER or any COMPANY. Except as otherwise provided in Paragraphs 22, 23 and 24 of
       this Agreement, you agree to assign and hereby assign your entire right. title and interest in all
       INVENTIONS (including, but not limited to, all related patent applications and all priority rights


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     relating to any INVENTIONS or to any related patent applications) to your EMPLOYER or its
     designee. You will not assert any rights to any INVENTIONS as having been made or acquired by
     you prior to your being employed by your EMPLOYER unless such INVENTIONS are identified
     on a sheet attached hereto and signed by you and your EMPLOYER as of the date of this
     Agreement.
2. All copyrightable works, including, but not limited to, writings, articles, publications.
   presentations, reports, computer programs, drawings, tables, graphs, images, artwork, photographs.
   videos, musical works, sound recordings and audiovisual works, that you create or prepare during
   and within the scope of your employment with your EMPLOYER or relating to work performed for
   any COMPANY whether or not created or prepared during your hours of employment and/or
   whether or not with the use of your EMPLOYER's or any COMPANY's facilities, materials or
   personnel, and regardless whether the creation or preparation of such work was specifically
   requested by your EMPLOYER, shall be considered works made for hire, and the worldwide
   copyrights therein shall be the sole and exclusive property of your EMPLOYER or such
   COMPANY. If any such copyrightable work or portion thereof shall not legally qualify as a work
   made for hire, or shall subsequently be held not to be a work made for hire, you agree to assign and
   hereby assign to your EMPLOYER, such COMPANY, or their designee all your right, title and
   interest therein. You agree to promptly disclose all such works to your EMPLOYER.
3. You will execute any applications, assignments or other instruments that your EMPLOYER
   considers necessary to apply for, obtain, transfer and maintain a patent, or trademark or copyright
   registration or other proprietary rights to protect the interests of your EMPLOYER or the
   COMPANY with respect to INVENTIONS, or copyrightable works conceived, reduced to
   practice, created, authorized or made by you during your employment. These obligations shall
   continue beyond the termination of your employment and shall be binding upon your executors,
   administrators and other legal representatives.
4. You will not use or disclose to the COMPANY any confidential information belonging to others.
   including your former employers, if any. You represent there is no agreement, contract, non-
   compete covenant, non-disclosure/secrecy agreement or similar restriction that would prohibit or
   restrict your ability to perform your job-related duties that you have not disclosed and provided to
   your EMPLOYER.
5. You acknowledge that CONFIDENTIAL INFORMATION is of great value to the COMPANY.
     that the COMPANY has legitimate business interests in protecting its CONFIDENTIAL
     INFORMATION, and that the disclosure to anyone not authorized to receive such information,
     including a COMPETITOR, will cause immediate irreparable injury to the COMPANY. Exceptas
     required by your duties for your EMPLOYER, you will not use, disclose, disseminate, lecture upon
     or publish any CONFIDENTIAL INFORMATION, either during your employment with your
     EMPLOYER or thereafter, unless you first obtain the prior written consent of your EMPLOYER or
     any COMPANY to which the CONFIDENTIAL lNFORMATlON relates.
6.   Except as provided in the next sentence or to any extent prohibited by applicable law.
     during your employment with any COMPANY and for a period of eighteen (18) months
     after the termination of your employment (whether voluntary or involuntary), you will
     not, directly or indirectly, perform, or assist others to perform, work for any
     COMPETITOR in any position and in any location in which you could disadvantage any
     COMPANY or advantage the COMPETITOR by: (a) your disclosure or use of
     CONFIDENTIAL INFORMATION to which you had access; (b) your use of the
     specialized training provided to you by your EMPLOYER or any COMPANY for which
     you have worked; and/or (c) your usc of CUSTOMER relationships and goodwill.


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     Following the termination of your employment, you will be permitted to work for an
     entity or person if (a) the COMPANY with a competitive interest determines that the
     entity or person for which you wish to work has a diversified business and no portion of
     the business for which you would render services is a COMPETITOR. and (b) prior 10
     your commencing any work, such entity or person and you each provides written
     assurances satisfactory to the COMPANY with a competitive interest that you will not
     render any services for the portion of the business that is a COMPETITOR for a period of
     eighteen (18) months after your last date of employment within the COMPANY. The
     restrictions of this Paragraph 6 will not apply with respect to services you render in
     California after termination of your employment within the COMPANIES that do not
     involve your use or disclosure of CONF'IDENTIAL INFORMATION.
7. You acknowledge that the COMPANY's relationships with CUSTOMERS and the
   goodwill associated with such relationships are important and valuable business assets
   that results from the COMPANY's significant investment of its time and resources.
   Therefore, you agree that during your employment and for eighteen ( 18) months after the
   termination of your employment (whether voluntary or involuntary) with the COMPANY,
   you shall not, directly or indirectly, contact, call upon, solicit business from, sell to, or
   render services to, or assist others in contacting, calling upon, soliciting business from,
   selling to, or rendering services to, any CUSTOMER: (a) in connection with the sale,
   support. service or use of any product or service that resembles or competes with or that
   may be substituted for one that is being sold, under development or acquired by any
   COMPANY; (b) if you are working with, for, or as a COMPETITOR of any COMPANY;
   and/or (c) if your activities could damage or interfere with the CUSTOMER relationships
   of any COMPANY or divert business from such CUSTOMERS to a COMPETITOR. For
   purposes of this Paragraph 7, COMPANY shall mean your EMPLOYER and any
   COMPANY that you worked for during the last eighteen months of your employment.
   The restrictions of this Paragraph 7 will not apply to limit services you render in
   California after termination of your employment that do not involve your use or
   disclosure of CONFIDENTIAL INFORMATION.
8.   Except to any extent prohibited by applicable law, you agree that for a period of twelve { 12)
     months after your last date of employment within the COMPANY, you will not, directly or
     indirectly, on your own behalf or on behalf of others. solicit, recruit, interview, hire, identify,
     suggest or comment on any individual employed by any COMPANY to leave his or her
     employment with the COMPANY. The restrictions of this Paragraph 8 will not apply to limit
     services you render in California after termination of your employment that do not involve your use
     or disclosure of CONFIDENTIAL INFORMATION.
9.   For purposes of enabling your EMPLOYER and any other COMPANY with a competitive interest
     to monitor your compliance with your obligations under this Agreement, you will notify your
     EMPLOYER in writing, at least two weeks before your last date of employment with your
     EMPLOYER, and provide at least two weeks advance written notice whenever within the eighteen
     (18)-month period following the termination of employment you plan to commence work with a
     new entity or person of: your start date, the identity of each entity or person for which you will be
     working, your new title, and the responsibilities of the position (such as the products and/or
     services you will be working on for the new entity or person, and any territory you may cover ).
     During this time period you will also provide such notice regarding any planned or actual changes
     in your work responsibilities. You will provide the notices required under this Paragraph to the
     highest-ranking employee in the Human Resources organization of your EMPLOYER and will do
     so promptly, and, in any event, at least two (2) weeks prior to commencing any new position or (if


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    applicable) any new responsibilities. You will promptly provide any additional information
    requested by your EMPLOYER to determine compliance with your obligations under this
    Agreement. The information you provide pursuant to this Paragraph should not include any
    confidential information belonging to anyone outside the COMPANY and will not be used except
    to evaluate your compliance with your obligations under this Agreement, to enforce those
    obligations, and to seek remedies for your breach or another party's interference with your
    obligations under this Agreement.
10. If your employment with your EMPLOYER terminates for reasons other than misconduct,
    then you may be entitled to certain payments if you satisfy the requirements and procedures
    set forth and referenced in Addendum A, which is incorporated by reference herein. If you
    voluntarily terminate or resign from your employment with your EMPLOYER, then you shall not
    be eligible for such payments.
II. Upon termination of your employment with your EMPLOYER, you will turn over to an individual
    designated by your EMPLOYER all property in your possession or custody belonging to your
    EMPLOYER or any COMPANY, including any computer or electronic equipment. You shall not
    retain copies of any correspondence, memoranda, reports, notebooks, drawings, photographs, or
    other documents in any form whatsoever (including information contained in computer memory or
    on any computer disk or drive) relating in any way to the business of your EMPLOYER or the
    COMPANY that were entrusted to, created by or obtained by you at any time during your
    employment with the COMPANY.
12. You acknowledge that your EMPLOYER and/or the COMPANY have a legitimate interest in
    protecting its CONFIDENTIAL INFORMATION, its customer relationships and the goodwill
    associated with such customer relationships, and the provision to you of specialized training. You
    further acknowledge that the restrictive covenants contained in this Agreement are reasonably
    necessary to ensure your EMPLOYER or the COMPANY is able to protect its legitimate interests
    and. therefore, you agree not to, in any action, suit or other proceeding, deny the reasonableness of,
    or assert the unreasonableness of, the restrictive covenants and you hereby waive any such defense.
    In addition, you agree that the restrictive covenants in this Agreement are separate and independent
    obligations and, therefore, the failure or alleged failure of the COMPANY to perform any
    obligations owed to you shall not constitute a defense to the enforceability of such restrictive
    covenants. Accordingly, you acknowledge that if you violate or are about to violate this
    Agreement, immediate irreparable injury to your EMPLOYER and the COMPANY will result.
    warranting (in addition to any other relief) the imposition of injunctive relief against you without
    the necessity of posting any bond.
13. If you breach any of the provisions of this Agreement, the duration of any applicable
    restrictive covenant shall commence from the date injunctive relief is granted or from the
    date that you cease such conduct that violates the restrictive covenant and shall be
    extended for an amount of time equivalent to any period of breach.
14. You agree to indemnify and pay your EMPLOYER and/or any COMPANY for the
    reasonable attorneys' fees and costs it incurs (including fees and costs incurred before
    the initiation of litigation, during litigation, and any trials, appeals and/or any petitions)
    to enforce the terms of the Agreement in the event you violate any of its terms or in the
    event you unsuccessfully challenge the validity or enforceability of any of the terms of
    this Agreement.
15. You agree that this Agreement applies to any position that you may hold as an employee
    of the COMPANY and shall continue in effect in the event of a promotion, demotion.
    retention by a different EMPLOYER or in a new position, or any other change in the

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    circumstances of your employment, including without limitation any change in the scope
    or nature of your responsibilities or assignment, your level or seniority, or your
    compensation or benefits.
16. You agree that your EMPLOYER may assign this Agreement and its rights and obligations, in
    whole or in part, to any affiliate or third party, including in connection with any merger, sale of
    assets, sale of stock or any other form of transaction that pertains to all or part of its business or the
    business of any other COMPANY. Each COMPANY is an express third-party beneficiary of this
    Agreement.
17. Nothing in this Agreement shall limit or affect any common law duties you have to any
    COMPANY, including, but not limited to, your duty of loyalty.
18. During your employment, while you may investigate other employment or business
    opportunities, you acknowledge and agree that you are subject to a duty of loyalty.
    Therefore, you agree that during your employment, you will not, directly or indirectly,
    among other things, compete against the COMPANY; do anything to impair your
    EMPLOYER's business or relationships with its CUSTOMERS; inform CUSTOMERS
    that you are terminating your employment and starting a competing business or going to
    work for a COMPETITOR; contact a CUSTOMER on behalf of a COMPETITOR;
    recommend a COMPETITOR or a COMPETITOR's products or services; engage in
    training on or assist in selling or promoting a COMPETITOR's products or services;
    engage in recruitment or solicitation of other employees of your EMPLOYER or any
    COMPANY to join a COMPETITOR.
19. This Agreement will be governed by and interpreted according to the laws of the State of New
    Jersey, without regard to its conflict of law rules. Any action that you initiate relating to or arising
    out of this Agreement must be brought in the courts of the State of New Jersey or. if subject matter
    jurisdiction exists, in the United States District Court for the District of New Jersey. You consent
    to personal jurisdiction and venue in both New Jersey State and Federal courts and to service of
    process by United States mail or express courier service in any such action. Any litigation
    initiated by you in any other forum or jurisdiction must be transferred to an appropriate
    court in New Jersey.
20. You irrevocably consent not to sue the COMPANY in any jurisdiction other than the state
    or federal courts of New Jersey for the purposes of any action arising out of or related to
    this Agreement. You further agree not to assist, aid, abet, encourage, be a party to, or
    participate in the commencement or prosecution of any lawsuit or action by any third
    party arising out of or related to this Agreement in any jurisdiction or venue other than a
    state or federal court in New Jersey.
21. In the event that any provision of this Agreement is invalidated or unenforceable under applicable
    law, that shall not affect the validity or enforceability of the remaining provisions. To the extent
    that any provision of this Agreement is unenforceable because it is overbroad, that provision shall
    be limited to the extent required by applicable law and enforced as so limited.
22. The following applies only to a Minnesota employee: Paragraph I does not apply to an
    INVENTION for which no equipment, supplies, facility, or trade secret information of the
    COMPANY was used to conceive or reduce to practice such INVENTION and which was
    developed entirely by you on your own time, and (a) which does not relate at the time of
    conception or reduction to practice of the INVENTION (i) to the business of your EMPLOYER or
    (ii) to your EMPLOYER's actual or demonstrably anticipated research or development, or
    (b) which does not result from any work performed by you for your EMPLOYER.


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23. The following applies only to a California. Delaware. Illinois. Kansas. or North Carolina
    employee: Paragraph I above does not apply to an INVENTION for which no equipment,
    supplies, facility, or trade secret information of the COMPANY was used and that was developed
    entirely on your own time, unless (a) the INVENTION relates at the time of conception or
    reduction to practice of the INVENTION (i) to the business of your EMPLOYER or (ii) to your
    EMPLOYER's actual or demonstrably anticipated research or development, or (b) the
    INVENTION results from any work performed by you for your EMPLOYER. For California
    employees, the requirement to assign your rights in an invention to your EMPLOYER
    does not apply to an invention which qualifies fully under the provisions of California
    Labor Code Section 2870.
24. The following applies only to a State of Washington employee: Paragraph I above does not apply
    to an INVENTION for which no equipment, supplies, facility, or trade secret information of any
    COMPANY was used and that was developed entirely on your own time, unless (a} the
    INVENTION relates at the time of conception or reduction to practice of the INVENTION
    (i) directly to the business of your EMPLOYER or (ii) to your EMPLOYER's actual or
    demonstrably anticipated research or development, and (b) the INVENTION results from any work
    performed by you for your EMPLOYER.
25. Nothing contained in this Agreement shall be deemed to confer on you any rights with respect to
    the duration of your employment. YOUR EMPLOYMENT IS TERMINABLE AT WILL BY
    EITHER YOUR EMPLOYER OR YOU, WITH OR WITHOUT CAUSE, EXCEPT THAT IF
    YOU INITIATE THE TERMINATION, THERE SHALL BE, AT YOUR EMPLOYER'S
    OPTION, A PERIOD OF UP TO FOURTEEN (14) DAYS AFTER YOU GIVE WRITTEN
    NOTICE OF TERMINATION BEFORE THE TERMINATION BECOMES EFFECTIVE. lfyour
    EMPLOYER elects to continue your employment during the notice period, it shall advise you of
    that fact and of the duration of the notice period. During any notice period, you will provide such
    transitional services as your EMPLOYER may request. Your EMPLOYER will be obligated to
    continue your pay during the notice period, and your duty of loyalty to your EMPLOYER will
    continue through such period.
26. This Agreement sets forth the entire agreement between the parties relating to its subject matter
    and supersedes all prior agreements, written or oral, between them relating to its subject matter. In
    the event that this Agreement be declared invalid, void, or unenforceable for any reason,
    then you understand, agree, and acknowledge any non-compete, confidentiality, non-
    solicitation, and/or non-disclosure agreement previously entered between you and any
    COMPANY, which was superseded by this Agreement, shall be reinstated and remain in
    full force and effect. No modification of or amendment to this Agreement will be effective
    unless it is in writing and signed by you and an authorized representative of your EMPLOYER.
    You represent that you have not relied on any representations by any representative of the
    COMPANY concerning the subject matter of this Agreement that are not expressly stated in this
    Agreement.




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YOU ACKNOWLEDGE HAVING REA[), EXF.C'lJTED AND RECEIVED A COPY OF THIS
AGREEMENT. AND YOU l\GREE TO THE TERMS M~OVE AND r\CKNOWLJ::DGE THAT YOU
JNTEND TO BE LEGALLY l30UNL) BY THIS AGREEfviENT.



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                                        ADDENDUM A
A. If, after at least a month following the termination of your employment within the
   COMPANY, for reasons other than misconduct or your voluntary resignation, and after a
   diligent search for employment that complies with the terms of the Agreement and this
   Addendum, you are unable to obtain employment in a position in which your annual base
   salary is at least equal to your annual base salary at the time of such termination solely
   because of the restrictions set forth in Paragraph 6 or 7 of this Agreement, then,
   commencing after submission of an application for payment and any additional requested
   information and documents and a determination by your EMPLOYER in due course that
   you qualify for payment, your EMPLOYER shall make monthly payment to you equal to
   the lesser of (a) the amount you last received from your EMPLOYER as annual base salary
   or (b) the difference between your last annual base salary at your EMPLOYER and your
   annual base salary in any subsequent position for each month for which you properly apply
   for payment and your EMPLOYER determines your entitlement. Your annual base salary
   for or with any subsequent employer will be based on your EMPLOYER's reasonable
   projection of the amounts to be received by you during the first twelve (12) months in that
   employment. No payment shall be made in advance of the month for which it is requested.
B. To be considered for the payments provided for in Paragraph A above for each month that
   you claim payment is due, you must establish and represent in writing to the highest-
   ranking employee in the Human Resources organization of your EMPLOYER. within
   fifteen (15) days following the end of each month that you are seeking payment, that
   although you diligently sought work in the prior month consistent with your obligations
   under Paragraphs 6 and 7 of the Agreement, you were unable to attain employment from a
   new employer in a position in which your annual base salary equaled the annual base salary
   you last received from your EMPLOYER, solely because of a restriction set forth in
   Paragraph 6 or 7 in the Agreement. You must also submit a completed Application for
   Payment Pursuant to Employee Secrecy, Intellectual Property, Non-Competition and Non-
   Solicitation Agreement and promptly provide such further information or documents
   concerning your job search as your EMPLOYER may request to determine if your
   employment status is solely due to a restriction set forth in Paragraph 6 or 7 of this
   Agreement, that a diligent search for employment consistent with your obligations was
   made, and to verify the accuracy of your representations. As more fully set forth in the
   Application and this Addendum, in order to establish a diligent search for employment
   satisfying the requirements of this Agreement, you must demonstrate, among other things,
   that you made best efforts to secure positions that were in compliance with the terms of the
   restrictions set forth in Paragraphs 6 and 7 of the Agreement. For avoidance of doubt, to
   be eligible for payment under the Agreement, you must demonstrate, among other things,
   that you sought employment in positions that would not violate your non -compete and non-
   solicitation obligations under Paragraphs 6 and 7. You must also establish. among other
   things, that the restrictions set forth in Paragraph 6 or 7 were the sole reason that you could
   not find employment with commensurate annual base salary and were not due to
   circumstances unrelated to those obligations including, without limitation, general
   economic conditions or competition from other candidates.




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C. In the event that you are offered a position which you believe conflicts with your
   obligations under either Paragraph 6 or 7 of the Agreement, you must inform your
   EMPLOYER so that your EMPLOYER may evaluate the position and consider whether the
   position may be allowable under the terms of this Agreement or permissible with
   appropriate restrictions. No payment shall be due under Paragraph A if you fail to make
   timely application for or to provide on a timely basis any information or documents
   requested by your EMPLOYER or required under this Addendum or if you provide
   incomplete or inaccurate information regarding your job search.
D. If your EMPLOYER determines that you are entitled to payment under Paragraph A, your
   EMPLOYER may elect in its sole discretion, in lieu of payment, to provide you a written
   release from the restriction of Paragraph 6 or 7 of the Agreement. In the event your
   EMPLOYER elects to provide such written release, EMPLOYER will no longer be
   obligated to make any payments contemplated by Paragraph A above.




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                               EXHIBITB




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                       Case 1:17-cv-11008-MLW Document 15-12 Filed 07/11/17 Page 35 of 42
   I

• To!       Angelini, Laura [DPYUS][Lange1 @ITS.JNJ.com]
  From:     Elasah Dewey
  Sent      Fri 516/2016 6:43:58 PM
  lmpor1ance:          Normal
  Subject RE: Scheduling - Round 2 interview
  Received:            Fri 5/612016 6:44:32 PM


  Thanks Laura, I appreciate your patience with all the back and forth. I will be back in touch soon!


  Elasah Dewey
  Execulive Assislanr lo Erik J.
  Wordelman
  Spencer Stuart Minneapolis/St. Paul


  T 61231320331 M6513030222
  Email I Minneaoolis/S!. Paul office


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  Our Minneapolis/St. Pauloffice has moved to a new location. For updated address and directions. please vis;l tile Spencer S/uadWebstle

 From: Angelini, Laura [DPYUS) [mailto:langel@ITS.JNJ.com]
Sent: Thursday, May 05, 2016 10:59 PM
To: Dewey, Elasah <edewey@SpencerStuart.com>
Subject: RE: Scheduling- Round 2 interview

  All good and confirmed, Elasah.
  Thank you!
  Best regards,
  Laura



 Laura Angelini
 Global Platform Leader, Joints


       !(f) DePuySynthes

 700 Orthopaedic Drive
 P.O. Box 988
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 P: +1-574-372-7355
 M: +1-908-432-6221
 Email: langel@jts.jnj.com


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 From: Elasah Dewey [mailto:edewey@SpencerStuart.com]
Sent: Thursday, May OS, 2016 2:31 PM
To: Angelini, Laura [DPYUSJ
Subject: RE: Scheduling - Round 2 interview

 Hi Laura,




                                                                                                                                                   JANREM0112427
                     Case 1:17-cv-11008-MLW Document 15-12 Filed 07/11/17 Page 36 of 42
 ·.
 I have had confirmation from Baxter that they would like to meet with you the evening of May 24 and morning of May 25 1h, if this
 still works for you?

 They will be sending through a finalized agenda later, but I wanted to let you know so you can open up your calendar on the other
 dates we discussed. Thank you for your patience, they expressed that they are very intent upon meeting with you again, they have
 just had some difficulty aligning calendars with travel.

 Best regards,
 Elasah


 Elasah Dewey
 Executive Assistant lo Erik J.
 Wordelman
 Spencer Stuart Minneapolis/St. Paul


 T 61231320331 M 6513030222
 Email I Minneapolis/St. Paul olfice


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 From: Angelini, Laura [DPVUS] [mailto:Langel@ITSJNJ.com]
Sent: Monday, May 02, 2016 11:53 AM
To: Dewey, Elasah <edewey@SpencerStuart.com>
Subject: RE: Scheduling- Round 2 interview

 Yes -- or I can change my afternoon plans on the 1811••
 I am flying out at 19.20 CST from Chicago to Boston.
 So could be at Baxter 04.00 to 05.00 and then heading to the airport.
 I could do either morning from Warsaw VC or afternoon stopping by at Baxter before flying out. Whatever works better for them.
 Let me know.
 Thanks. Best regards,
 Laura



 Laura Angelini
 Global Platform Leader, Joints

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 700 Orthopaedic Drive
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From: Elasah Dewey [mailto:edewey@SoencerStuart.com]



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  '•
Sent: Monday, May 02, 2016 12:39 PM
To: Angelini, Laura [DPYUS]
Subject: RE: Scheduling- Round 2 Interview

  This would be for a VC on the 181h?


 Elasall Dewey
 Executive Assistant to Erik J.
 Wordelman
 Spencer Stuart Minneapolis/St. Paul


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 From: Angelini, Laura [DPYUS) [mailto:Langel@ITS.JNJ.coml
Sent: Monday, May 02, 2016 11:18 AM
To: Dewey, Elasah <edewey@SpencerStuart.com>
Subject: RE: Scheduling • Round 2 interview

 I have some opening on May l81to 10.30 to 12.00 EST (not CST) if that could work for Srik.
 Laura


 Laura Angelini
 Global Platform Leader, Joints


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 From: Elasah Dewey [mailto:edewey@SpencerStuart.com]
Sent: Monday, May 02,2016 12:16 PM
To: Angelini, Laura [DPYUS]
Subject: RE: Scheduling - Round 2 Interview

 I did not expect they would, but appreciate your quick response!



 Elasah Dewey
 Executive Assistant to Erik J.
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 From: Angelini, Laura [DPYUS) [mailto:Langel@ITS.JNJ.com]
Sent: Monday, May 02, 2016 11:12 AM
To: Dewey, Elasah <edewey@SpencerStuart.com>
Subject: RE: Scheduling- Round 2 interview

 Really sorry, Elasah, none of these can work for me ...



 Laura Angelini
 Global Platform Leader, Joints


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 From:   Elasah   Dewey [mailto:edewey@SpencerStuart.com]
Sent: Monday, May 02, 2016 12:03 PM
To: Angelini, Laura [DPYUS]
Subject: RE: Scheduling - Round 2 interview

 Thank you Laura, Brik will also be traveling the week of May 91h, and out of pocket entirely that week.

 Some other alternatives for a meeting in Deerfield. They know that your travel schedule this month is packed, so these are long
 shots, and I can also check into VC option during these windows if your calendar allows):

 Mon, May 16 from 4-Spm CST
 Thu, May 19 at 3:30-4:30 CST
 Fri, May 20 at 11:15-12:15 CST

 They would still like you to hold May 24·25 as well.

 Thanks Laura, I appreciate your patience as we work through possibilities!


 Elasah Dewey
 Executive Assistant to Erik J.
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 Spencer Stuart Minneapolis/St. Paul




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 From: Angelini, laura [DPYUS) [mailto:Langel@ITS.JNJ.com)
Sent: Monday, May 02, 2016 10:48 AM
To: Dewey, Elasah <edewey@SpencerStuart.com>
Subject: RE: Scheduling- Round 2 interview

 Hi Elasah,
 Really sorry but no, I am in a Board Meeting in Boston all day on Thursday and all booked already for Friday.
 Then on Monday I will leave for the UK and will be away all week.
 However I am leaving on Monday afternoon, so I could potentially lock time in the morning for Brick if that works for him. Maybe we could        u>~   a
 video system thru our computers? I have used it for another interviews with some of my candidates and it worked quite well.
 Let me know ...
 Thanks. Best regards,
 Laura

 Laura Angelini
 Global Platform Leader, Joints


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 From: Elasah Dewey [majlto:edewey@SpencerStuart.corn]
Sent: Monday, May 02, 2016 11:43 AM
To: Angelini, laura [DPYUS]
Subject: RE: Scheduling - Round 2 interview

 Hi laura,

 Apologies for the delay, the client has had some difficulty aligning calendars due to Brik Eyre's travel schedule. They have had a
 window of time open up this week on either Thursday {S/5) 8:30-10 or Friday (5/6) 1:3()..2:30 CST, in Deerfield. I know your
 calendar is also difficult this monght, so although unlikely, I wanted to check to see if there was any chance you might be able to
 make this work for a meeting with Brik?

 They would still like you to hold the 24·25 1h if possible for other meetings.

 Thank you for letting me know!

 Best,




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 •,    .
  Elasah Dewey
  Executive Assistant to Erik J.
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 From: Angelini, laura (DPVUS) [mailto:langel@ITS.JNJ.com)
Sent: Tuesday, April 26, 2016 9:16 PM
To: Dewey, Elasah <edewey@SpencerStuart.com>
Subject: RE: Scheduling- Round 2 interview

 No problem, Elasah. Thanks for letting me know. Dates are blocked.
 Best regards,
 laura


 laura Angelini
 Global Platform leader, Joints

      ("!) DePuySynthes

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 From: Elasah Dewey [mailto:edewey@SpencerStuart.coml
Sent: Tuesday, April 26, 2016 7:07 PM
To: Angelini, Laura [DPYUS]
Subject: RE: Scheduling - Round 2 Interview

 Hi laura,

 Just an update, Baxter is still confirming calendars (waiting on one executive to confirm), and they hope to give me final "go"
 tomorrow. Thanks for your patience, and please continue to hold the dates if possible.

 Best regards,
 Elasah


 Elasah Dewey




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       From: Angelini, Laura [VISUS] [mailto:Langel@ITS.JNJ.com]
      Sent: Sunday, April 24, 2016 9:40AM
      To: Dewey, Elasah <edewey@SpencerStuart.com>
      Subject: RE: Scheduling- Round 2 interview

       Hi Elasah,
       Hope you are well. May looks quite challenging for me as I have already a number of international trips booked that I cannot change at this
       stage.
       The earliest I could make as per suggestion below would be dinner on Tuesday May 24'" and interviews morning of Wednesday May 25''.
       Please let me know if that could work. For now I am keeping my agenda locked for these dates.
       Thanks. Best regards,
       laura



       laura Angelini
       Global Platform leader, Joints

             (!) DePuySynthes
                       ........   ~.jo~...,,..,




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       From: Elasah Dewey [mailto:edeweyailSpencerStuart.coml
      Sent: Friday, April 22, 2016 4:58 PM
      To: Angelini, Laura [VISUS]
      Subject: RE: Scheduling - Round 2 interview

       As an addendum to my email below- if possible, they would like to have you fly in for a dinner, followed by interviews the next
       morning. So that may help determine what dates you are free to travel.

       Best,


       Basah Dewey
       Executive Assistant to Erik J.
       Wordelman




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'    Sjlene'l!r Stuart Minneapolis/St. Paul

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     W'.NW.spencerstuartcom   c:JI] ~

     Our Alitmeapolis/SI Pauloffice has moved /o a new local/on For updated address and direc/iolls. please vistl the S.oencer S(Uatt Webs1le

     from: Dewey, Elasah
    Sent: Friday, April 22, 2016 3:56 PM
    To: 'Angelini, laura (VISUS)' <langel@ITS.JNJ.com>
    Subject: Scheduling- Round 2 interview

     Hi Laura,

     Baxter would like to invite you to Deerfield, ll for second round interviews. Please will you provide me with your availability in the
     next weeks, and I will provide to the client?

     As   before, I am happy to arrange your travel.

     Best regards,
     Elasah

     Elasah Dewey
     Executive Assistant to Erik J. Wordelman
     Spencer Stuart Minneapolis/St. Paul


     T 61231320331 M6513030222
     Email I Minneapolis/St. Paul office




     Our Miimeapolis/St. Pall/ office has moved loa new location. For llpdatedaddress anddirechons. please visil the Soencer S(llatt Website

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